aerlafz@@a 15:3@ 2535334315 KE|_|_E\H numme P¢:\GE 1212,»'@3
Case 2:07-cr-00397-RAJ Document22-2 Filed 06/26/2009 Page1of2 ‘

EE‘ER'.¢C£"JOZ iij l UO'CB'.'.FE¢*'.?DZ* 6£'52‘10‘£86 VA\ ‘="INWS / 1309 aims 'om.rsw my gm . unpug::ussvasq ams ucm$uy.;s\:rmh

oqsmqg ma'[Q\L mo
Sams¢o[ou§[

IBSIIRO:J mmldmm lows
31ng UBIIJ.‘ET.ID_[

  

‘£[Q.taou_cg

mont 311qu 'Mou:s[ am 491 asaa[d ‘pmaa; am mug slmumoo
l p mung_rppu mppaa m q:_ mm
sammy aqs, g aap.xo mepdoxddn ma 50 £.cma pma mm 105 s[epo:mm asaq; mumn.r;t£sr:am

uop'e[ndgg am (z) pma ”unuu[ndqs oqq. Errmo.rdde 390; ‘I mu£u. -HUFMMS 01
. , , y pam 42 10 mo mr most
mg {T_) pzooa.r aqa, tang paso{'.‘.\m mm arm '.Iop.to mfg la .Io_; map mg 01 pgu;t§qm£s[u main st\§[&[

~gggg "[ asuEnV tro lawn eng mm poms MQAP:LM§;Q sam oqsn.mgma n ma du -
sm up luaunvqsyq 01 dangerong 'e Buonchde maple ma palaglm seq king p;:uq;;lolg§;?

saundva wm mag

lap.rg mm lsauba
zsooo#m ’m@!rqna‘§sosz'm ma‘@q_nlf`… 's la ix mill

6360-1=»0526 Vm °EF¢IU&IO

\ szeov wa oat

annum 50 QI=TW$.L

um§mrmm;o whom QWPM“S

qxzqg map smelting ‘.muad.m;) 'H pleuo*g

2003 ‘17 1annv

aziz-mena mg
9165-€€¢-901' W[r.w_rp qu)iwuqd;asgq guns
mmi 'UBfgmo[

'IIS£\I{'.LOD K»’:IVI\T.I'I¢DD SICI EO E|DHHO

VS[S

 

3 ' d LLE ' ON \:|I'IOHEI S|'"|H Cl J.` L\IU‘Z|F : E E'IEIEE ' EE '|‘~|l'U_`

BEFl§fQBBH 15:3@ 253 BEFEE

5334315 +<l;l_l_l:wf _DUNI'
Case 2:07-cr-00397-RAJ Document22-2 Fl|

ND PAGE
ed 06/26/2009 Page 2 of 2 \

 

j 759 Luzs-z.zz. fsan
‘ sepa-lowe wax ‘=>tm=§
009 mm$ ‘=“u°'\"v' mir §Z‘ET. 1 :Bu,_;
momw:)ossv 'av-a I.W.t.s miamva wsmna~w.rmndus fm mm
pmo§{ mu§[dps'_cq tigqu 173
3 QI.IZH ' UBIM
,,¢FHJM faa m g
32
“sooz‘m$w.w mm sun mm V°'
UFS

'Hs;wn m sims ‘md-WBHI.IW ‘w&@w ‘Wu¢=m ‘lwprmw ‘mwrwx man 51

 

¢de \_mmn,.m§u}ddo:) 1333 'uog[mg ‘SA\QI[)W "uo:?.l;:¢pwq' ¥QJBM EIZIFL\'.‘\A BSOII_I, 81
'S‘l‘lc\tu}trarun mem lanham app no man m“q_L ":'I
“P@Amddz 51 armqu m HOnF-Ind!ls 3003 ‘sz KEM =rn wm mama sr .L'c 91
mmquch m vommdzzs snoz ‘sz ibew am .w mm 110 5 f
’311.11=@“1 3005 ‘I BHHW m m umw Mu!‘ld.ms.lcl sum 919qu Qw€'»v lmlvw gm *’I
ct
'(sso§z 'HN wm IMME'I n
mammch

OJ, Nouv"mms No amato ”oHanm 'S Mv*xm 11
zsooo#.c.o 'DN §“sp¢=wma am or

5

Nollvmossv wet alvis NC).L£JMHSVM
am do s
TE[VUH ¢T\.WD'U'IEIUSIU

HHL EHD¢IEH 1.

9

GHVOQAHHNHMH §

P

E-‘“’“~’-‘ - a m

CE|`H:I ` g

 

 

 

E'd LLE'UN dNOHB SHE G f NUEF:E EEEE'EE'NHI

